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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 GENESIS MARINE, LLC                                §
     Plaintiff                                      §
                                                    §
                                                    §
                                                    § CIVIL ACTION NO. 4:21-cv-00289
 VERSUS                                             §
                                                    §
                                                    §
 SGR ENERGY, INC.                                   §
      Defendant                                     §


  MOTION TO COMPEL THE CORPORATE DEPOSITION OF SGR ENERGY, INC.

        NOW INTO COURT, through undersigned counsel, comes plaintiff, Genesis Marine, LLC

(“Genesis”), which moves to court to compel the corporate deposition of SGR Energy Inc.

(“SGR”).

        In support of its motion, Genesis shows that on October 14, 2021, it noticed the corporate

deposition of SGR to determine what assets SGR had so that Genesis could execute on its judgment

against SGR. On the day before the deposition was to occur, November 15, 2021, SGR filed for

bankruptcy.

        Thereafter, after Genesis moved to dismiss SGR's bankruptcy on the basis it was filed in

bad faith, SGR's filed its own voluntary motion to dismiss its bankruptcy. The bankruptcy court

subsequently ordered the case was dismissed and that SGR could not file another bankruptcy

proceeding for 60 days from January 22, 2022, or until March 22, 2022.

        As a result, Genesis again moved to take the corporate deposition of SGR to determine its

assets so that it could execute on its judgment. On February 1, 2022, Genesis reissued the SGR

notice of deposition for February 21, 2022, but SGR failed to attend. Before the deposition,

Genesis made reasonable efforts to contact SGR's and its counsel to confirm that they would attend




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the deposition, but SGR did not do so. Accordingly, Genesis went on the record to confirm that

SGR did not attend. A copy of the transcript of the deposition is attached as Exhibit 1.

        For these reasons, Genesis seeks an order from the Court compelling SGR to attend its

corporate deposition within the next seven days.



                                               Respectfully submitted,

                                               PHELPS DUNBAR LLP



                                               BY:    /s/ E. Martin McLeod
                                                     Evans Martin McLeod, Fed ID 411950
                                                     Canal Place | 365 Canal Street, Suite 2000
                                                     New Orleans, Louisiana 70130
                                                     Telephone: 504 566 1311
                                                     Facsimile: 504 568 9130
                                                     Email: marty.mcleod@phelps.com

                                               ATTORNEY-IN-CHARGE FOR GENESIS
                                               MARINE, LLC



OF COUNSEL:

PHELPS DUNBAR, LLP
Justin C. Warner, Fed. ID 3326606
Arthur R. Kraatz, Fed. ID 2895505
365 Canal Street, Suite 2000
New Orleans, LA 70130
Telephone: (504) 56601311
Facsimile: (504) 568-9130
Email: justin.warner@phelps.com
        arthur.kraatz@phelps.com

                                CERTIFICATE OF SERVICE
       I certify that on this 8th day of March, 2022, a true and correct copy of the foregoing
instrument has been served upon all counsel of record via CM/ECF.

                                             /s/ E. Martin McLeod
                                             Of Phelps Dunbar, LLP



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